4:04-cr-03156-RGK-DLP   Doc # 56   Filed: 05/02/05   Page 1 of 6 - Page ID # 80
4:04-cr-03156-RGK-DLP   Doc # 56   Filed: 05/02/05   Page 2 of 6 - Page ID # 81
4:04-cr-03156-RGK-DLP   Doc # 56   Filed: 05/02/05   Page 3 of 6 - Page ID # 82
4:04-cr-03156-RGK-DLP   Doc # 56   Filed: 05/02/05   Page 4 of 6 - Page ID # 83
4:04-cr-03156-RGK-DLP   Doc # 56   Filed: 05/02/05   Page 5 of 6 - Page ID # 84
4:04-cr-03156-RGK-DLP   Doc # 56   Filed: 05/02/05   Page 6 of 6 - Page ID # 85
